        Case 2:13-cr-00106-DOC Document 597 Filed 09/02/22 Page 1 of 1 Page ID #:9558

                                   UNITED STATES DISTRICT COURT
                                  CENTRAL DISTRICT OF CALIFORNIA

                                   CRIMINAL MINUTES – GENERAL


Case No. 8:13-cr-00106-DOC                                                               Date: September 2, 2022


Present: The Honorable David O. Carter

Interpreter     N/A
                Karlen Dubon                          N/A                                          N/A
                Deputy Clerk                Court Reporter / Recorder                    Assistant U.S. Attorney

  U.S.A. v. Defendant(s)        Present Cust      Bond              Attorneys for Defendants:         Present App
  Ret
  Mongol Nation                 N/A                                 N/A                                N/A


Proceedings: ORDER RE: EVIDENTIARY HEARINGS

       As stated during the hearing, the Court ORDERS the Government to conduct a records review
related to David Santillan’s role as a potential cooperator or confidential informant. In particular, the
Government should inquire as to whether the Bureau of Alcohol, Tobacco, Firearms and Explosives
(“ATF”) worked in any taskforces involving local agencies when investigating Mongol Nation and
whether any of those potential partners had agreements of any form with David Santillan. The
Government should specifically examine the records of the Montebello Police Department given the
testimony that Christopher Cervantes, a Montebello police officer, was deputized as an ATF taskforce
agent and was seen meeting with David Santillan.

         The Clerk shall serve this minute order on the parties.
cc



                                                                                                              :
                                                                     Initials of Deputy Clerk        kdu




CR-11 (04/15)                                  Criminal Minutes – General                       Page 1 of 1
